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                           EXHIBIT D
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                      STATES REQUIRING PARENTAL CONSENT FOR
                    INDIVIDUALS UNDER 21 TO SERVE IN THE MILITIA



State and Date                     Relevant Statutory Text                                   Source
of Enactment
Michigan (1863)   The active militia shall be composed of volunteers                An Act for the
                  between the ages of eighteen and forty-five years, and            reorganization of the
                  shall be known as State troops, and in case of war,               military forces of the
                  rebellion, invasion, the prevention of invasion, the              State of Michigan, tit.
                  suppression of riots, to aid civil officers in the execution      VII, ch. XVIII, § 6, in
                  of the laws of this State, shall first be ordered into service.   JAMES S. DEWEY, ED., 1
                  Minors over the age of eighteen years may be admitted             THE COMPILED LAWS OF
                  into any company of State troops, with the consent, in            THE STATE OF
                  writing of their parents or guardians, or, if they have none,     MICHIGAN 317, 320
                  with the consent, in writing of a justice of the peace of the     (1872).
                  township or city in which they reside.


Missouri (1835)   No person under the age of twenty-one years, shall                An Act to organise,
                  hereafter enlist in or join any uniform troop or company,         govern, and discipline
                  without the consent in writing, of his parent or guardian,        the Militia, art. IV, § 22,
                  master or mistress.                                               in 2 LAWS OF A PUBLIC
                                                                                    AND GENERAL NATURE
                                                                                    OF THE STATE OF
                                                                                    MISSOURI 512, 521
                                                                                    (1842).


New York          And be it further enacted, That no person under the age of        An Act to organize the
(1818)            twenty-one years, shall hereafter enlist in or join any           Militia, ch. CCXXII, §
                  company of cavalry, artillery or flying artillery, without        XXXIII, 1818 N.Y.
                  the consent in writing of his parent or guardian.                 LAWS 210, 225.
